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Counsel for Intervenor

                      UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MONTANA, MISSOULA DIVISION


 TANYA GERSH,                           Case No. CV 17-50-M-DLC-JCL

                     Plaintiff,

AUSTIN KNUDSEN, IN HIS OFFICIAL
CAPACITY AT ATTORNEY GENERAL            NOTICE OF SUBSTITUTION
FOR THE STATE OF MONTANA,               OF COUNSEL

                     Intervenor
        V.


 ANDREW ANGLIN,

                     Defendant.

      Please take notice that Emily Jones, Special Assistant Attorney

General and Morgan J. Varty, Assistant Attorney General are


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substituted as counsel of record for Intervenor State of Montana in place

of Hannah Tokerud and John Bennion as Ms. Tokerud and Mr. Bennion

are no longer affiliated with the Montana Attorney General’s Office. See

D. Mont. L.R. 83.3.

      DATED this 26th day of July, 2022.

                                        Austin Knudsen
                                        Montana Attorney General

                                        DAVID M.S. DEWHIRST
                                         Solicitor General

                                        /s/Morgan J. Varty
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                             CERTIFICATE OF SERVICE

      I hereby certify that on this date, an accurate copy of the foregoing

document was served electronically through the Court’s CM/ECF system

on registered counsel.

Dated: July 26, 2022                      /s/ Morgan J. Varty
                                          Morgan J. Varty
                                          Assistant Attorney General




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